                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WISCONSIN
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Feldmann Engineering & Manufacturing Co., Inc.

                                      Plaintiff,

v.                                                               Civil Action No. 14-cv-727

Ardisam, Inc.

                  Defendant.
______________________________________________________________________________

                                 COMPLAINT
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           Plaintiff FELDMANN ENGINEERING & MANUFACTURING CO., INC.

(“Feldmann”), for its complaint against defendant ARDISAM, INC. (“Ardisam”), alleges the

following:

                                                   Nature of Action

           1.          This is a civil action for patent infringement under The Patent Act, 35 U.S.C. §§

1-376, to prevent Ardisam from further infringing Feldmann’s U.S. Patent 8,777,188 (“the ‘188

patent”) entitled “Plunger Valve for a Propane Carburetor”.

                                                       Parties

           2.          Feldmann is a Wisconsin corporation with its principal place of business at 520

Forest Ave., Sheboygan Falls, WI 53085. Among other things, Feldmann is engaged in the

business of manufacturing and selling ice augers (also called ice drills).

           3.          Upon information and belief, Ardisam is a Wisconsin corporation with its

principal place of business at 1160 8th Avenue, Cumberland, WI 54829.




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                                            Jurisdiction and Venue

           4.          The District Court has original jurisdiction over this action pursuant to 28 U.S.C.

§1331 (federal question) and §1338(a) (action arising under any Act of Congress relating to

patents and copyrights).

           5.          This Court has personal jurisdiction over Ardisam. Ardisam has its principal

place of business located in this District and carries on continuous and systematic business in this

District. Venue in this District as to Ardisam is proper under 28 U.S.C. § 1400(b) and/or 28

U.S.C. § 1391(b) and (c) in that Ardisam conducted business in this District, caused damage and

injury in this District, and is subject to personal jurisdiction in this District. Jurisdiction as to

Ardisam is proper pursuant to Wis. Stat. § 801.05(1) and/or Wis. Stat. § 801.05(3) and/or Wis.

Stat. § 801.05(4).

                                               Background Facts

           6.          Feldmann started in 1947 near Plymouth, Wisconsin as a sole proprietorship. The

business was incorporated in 1968. During the course of its existence, Feldmann has produced a

variety of products, including ice augers, running gears of farm wagons, farm bale elevators,

rotary garden tillers, and snowmobiles.

           7.          Feldmann has become a leader in the ice auger industry, providing various ice

auger products including power ice augers. For over 50 years, Feldmann has sold power ice

augers and currently sells power ice augers under its Jiffy® mark. Feldmann continuously

improves its power ice augers by improving ice cutting technology and making improvements in

safe use and ease of handling. The '188 patent is directed to various features of Feldmann's




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propane powered ice auger. Exemplary Jiffy® propane powered ice augers sold by Feldmann

are shown below.




                               COUNT I: INFRINGEMENT OF THE '188 PATENT

           8.          Feldmann restates and incorporates by reference the allegations in paragraphs 1

through 7 above.

           9.          Ardisam manufactures, offers to sell, and/or sells propane power augers that

infringe the '188 patent in violation of 35 U.S.C. § 271(a), including products shown below,

which Ardisam sells under its “Eskimo” brand.




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           10.         Upon information and belief, Ardisam continues to sell its infringing products.

           11.         Upon information and belief, Ardisam has been and is willfully infringing the

'188 patent.

           12.         Upon information and belief, Ardisam will continue to infringe the '188 patent

unless and until it is enjoined by a court.

           13.         Ardisam’s infringement has caused and continues to cause irreparable harm to

Feldmann, including, but not limited to, infringing upon Feldmann’s rights in the '188 patent.

           14.         Feldmann has been damaged by Ardisam’s infringement of the '188 patent.

           15.         Ardisam’s conduct shows a lack of the required duty to avoid infringement of the

'188 patent such that this is an exceptional case; therefore, Feldmann should be awarded its

reasonable attorneys’ fees pursuant to 35 U.S.C. § 285.

           16.         Pursuant to 35 U.S.C. § 284, Feldmann is entitled to enhanced damages for

infringement of the '188 patent, up to treble damages.

           17.         Pursuant to 35 U.S.C. § 283, Feldmann is entitled to a preliminary and permanent

injunction against further infringement of the '188 patent.




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           WHEREFORE, Plaintiff, FELDMANN ENGINEERING & MANUFACTURING CO.,

INC., demands judgment against Defendant ARDISAM, INC. as follows:

           A.          That the defendant be preliminarily and permanently enjoined from
                       manufacturing or selling any further products that infringe the '188 patent.

           B.          An award of plaintiff’s actual damages.

           C.          An award trebling or enhancing the damages found due to defendant’s willful
                       infringement.

           D.          That the defendant be ordered to turn over to plaintiff or alternatively to destroy
                       any infringing ice auger products in its possession.

           E.          An award of plaintiff’s costs, including attorneys fees.

           F.          Any other relief that the court may deem proper and just.



                                                JURY DEMAND
           Plaintiff FELDMANN ENGINEERING & MANUFACTURING CO., INC. demands a

jury trial for all factual issues not admitted by the defendant.


Dated: October 24, 2014                               s/Michael T. Griggs
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